                                                               Judge Timothy W. Dore

                                                               Hearing Date: l2l2ll20l8 @ 9:30 a.m




                             UNITED STATES BANKRUPTCY COURT
                             \ilESTERN DISTRICT OF WASHINGTON


 In re:                                       )        Cause   No. 1 8-14095-TV/D
                                              )
 GLOBAL BAzuSTAS US, LLC                      )        OSBORN MACHLER'S MOTION
                                              )        FOR RELIEF FROM STAY
                                              )

                                                  I. RELIEF REQUESTED
          Osborn Machler requests an order for relief from stay in the matter before the

 V/ashington Court of Appeals, Division I, No. 78664-4-I, which relates to a contempt order

 against attorney David Nold.

                                                     II.   FACTS

          The matter relating to David Nold's contempt of the King County Superior Court is now

 in its third jurisdiction and fourth legal proceeding. What began as Global Baristas' motion for

 contempt of the Superior Court's protective order continued to an interpleader action, an appeal,

 and now, an involuntary bankruptcy           petition. In order for this Court to understand Nold's use of

 thejustice system for his personal gain, the pertinent facts related to eachjurisdiction are set

 forth below.

          King County Superior Court: Attorney David Nold represented Bellevue Square, LLC,

 in an action for breach of a lease by Global Baristas US, LLC, King County Superior Court No.




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 15-2-27043-5 SEA. B Squared, which is a construction company for tenant improvements, was

 also a party. Three judgments were obtained against Global Baristas:            a   judgment for damages in

 favor of Bellevue Square,      a   judgment for damages in favor of B Squared, and a judgment based

 on an order granting sanctions against Global Baristas. All three judgments were appealed to the

 Washington Court of Appeals, Number 76666-4-1. This appeal has been stayed by this

 bankruptcy.

          David Nold represented both Bellevue Square and B Squared Construction, Inc., on the

 collection of the judgments against Global Baristas US, LLC, in supplemental proceedings The

 Bellevue Square and B Squared judgments for damages were paid in full in December, 2017,

 even though the case is on appeal, Court of Appeals, Division I, No. 76666-0J.. Global Baristas

 deposited sufficient funds in the registry of the court to secure the appeal of the third, sanctions

 judgment. Since December,           2017 , there has been   nothing more to collect on these judgments.

 See Declaration    of Susan Machler.

          During supplemental proceedings, two depositions were taken of Michael Avenatti, who

 appeared as representative of Global Baristas. These depositions took place on July 21,2017,

 and Augusf    25,2017. Due to the abusive conduct of David Nold during the supplemental

 proceeding, Global Baristas US, LLC, filed its Motion to Appoint Referee and for Protective

 Order, requesting that David Nold and his client be prohibited from disclosing any information

 obtained in the supplemental proceedings for any purpose other than collecting the judgments.

 See Declaration    of Susan Machler, Exh.        1.


         At the August 25,2017, hearing on the motion, David Nold interrupted the Court and

 insisted that the order prohibiting disclosure of the information obtained in the supplement

 proceeding was not nscessary, stating he would never use the information for another purpose.




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 Machler Decl., Exh. 2. On September 6, 2017, the Court signed the order prohibiting use of the

 information for any other purpose exactly one year after the trial court in the underlying case

 awarded fees to Global Baristas US for Nold's repeated misconduct throughout discovery. By

 December, 2017, Global Baristas had paid Nold's clients in full.

          On March 16,2018, Simeon J. Osbom, one of Global Baristas' attorneys, was

 approached by a reporter from the Puget Sound Business Journal. She asked whether he was a

 part owner of   Tully's. V/hen    he asked about her source of information, she eventually disclosed

 that she obtained the July 21 deposition from "the lawyer representing the landlord in that case."

 On Saturday, April 7,2018, the Seattle Times posted a story about Michael Avenatti, which

 specifically referenced the July 21,2017, deposition of Michael Avenatti that was taken as part

 of the supplemental proceedings.

          The Superior Court found David Nold in contempt, ordered Nold to disgorge documents

 and depositions, and ordered Nold to pay Global Baristas' attorneys' fees. Machler Decl., Exh.

 3. A   separate order awarding fees was granted on May 21,2018, ordering David Nold to

 personally pay the awarded fees and deliver the funds directly to Osborn Machler within 30 days

 of the order. Machler Decl., Exh. 4.

          Instead of delivering the funds to Osbom Machler as ordered, Nold placed the funds in

 the registry of the court, just days before his deadline for delivering the funds to Osborn Machler.

 On Monday, June 18,2918, Nold emailed Osborn Machler stating he was personally served with

 a   Writ of Garnishment allegedly for funds owed by Global Baristas US, LLC, to Elizabeth Eno,

 who has a judgment against Global Baristas. Machler Decl., Exh. 5. Nold declared that the writ

 prevented him from making payment under the fees order, and then, he filed an interpleader,

 King County Cause No. 18-2-15192-9, naming Global Baristas and Elizabeth Eno. Interestingly,




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  Elizabeth Eno has never attempted to obtain the funds, and now, she is one of the parties filing

 this involuntary bankruptcy.

          Osborn Machler filed a motion to have itself named the judgment creditor. Machler

 Decl., Exh. 6. The court denied this motion, but it entered judgment against Nold with Global

 Baristas US, LLC, as judgment creditor. Machler Decl. Exh.          7. Global Baristas assigned the
 judgment to Osborn Machler. Machler Decl. Exh. 8.

          Washinston              of Anneals. In September, 2018, Nold filed       a   Notice of Appeal, one

 of several, with respect to the contempt order and related orders, which is Court of Appeals,

 Division I, No. 78664-4-I. Osborn Machler moved to determine the sufficiency of the cash

 supersedeas for the appeal.      Nold claimed that the funds subject the interpleader were suff,rcient.

 However, the trial court ordered that Nold had not stayed the judgment against him with the

 interpled funds. Machler Decl., Exh. 9.

          Meanwhile in the Court of Appeals, Cause Number 76666-4-I, a company called

 Benenson Bellevue      II, L.P. joined with Nold's client, Bellevue   Square, to dismiss the appeal.

 Benenson claimed to own Global's interest in the underlying lawsuit by way of a             writ of

 execution that was obtained on      April 13,2018,    and the sale completed on June 6, 2018. The

 Court of Appeals indicated that a motion to substitute parties under RAP 3.2 was the appropriate

 vehicle. The motion was filed along with         a declaration describing the   writ of execution,

 Benenson's claims, and the deal Benenson made with Nold's client. Machler Decl., Exh. 10.

 The Court of Appeals has not ruled on the motion, and that appeal, of course, is now stayed.

         In Court of Appeals Cause Number 78664-4-I,Nold's own appeal, he asked for and was

 granted an extension of time to file his brief to December 20,2018. Osborn Machler filed a

 motion in the Court of Appeals to substitute Osborn Machler for Global Baristas with respect to




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 the judgment against     Nold for the attorneys' fees, because Osborn Machler has been assigned the

 judgment. Nold failed to answer the motion, causing the Court of Appeals to set a deadline for

 his answer. Machler Decl. Exh. 11. An involuntary bankruptcy was f,rled by Benenson and

 Elizabeth Eno just before Nold's answer to the motion was due, and Nold responded to the

 motion to substitute by announcing the involuntary bankruptcy. Machler Decl., Exh. 12. He

 then filed a Notice of Bankruptcy in both appellate cases. Machler Decl. Exh. 13.

           Bankruntcv    Court.     Nold is not aparty to the bankruptcy. He has no client who is a

 creditor of Global Baristas US, LLC. He has filed a stay in the appellate matter that involves

 only his personal contempt maffer and his personal funds the Superior Court ordered him to pay.

 These funds were earned by Osborn Machler in the contempt matter and awarded by the

 Superior Court. Global Baristas US, LLC, assigned its judgment to Osborn Machler. Now,

 Osborn Machler is asking this Court to lift the stay with respect to Court of Appeals Cause

 Number 78664-4-L This appeal pertains only to Nold's contempt of the Superior Court's order

 and the attorneys' fees and costs awarded for Osborn Machler's work.

                                    III. EVIDENCE        RELIED UPON

           This motion is based upon the papers and pleadings in this case and the Declaration   of

 Susan Machler and exhibits attached hereto.

                           IV. STATEMENT            OF REASONS IN SUPPORT

           The Court should lift the bankruptcy stay as to the appeal of the contempt order, Court    of
 Appeals Cause Number 78664-4-I, against David Nold for four reasons.

           1.      The appeal of the contempt order it not an action against the debtor, as described

 inTitle   ll   U.S.C. $ 362(a).

           2.      The debtor, Global Baristas US, LLC, has no equity in the judgment against




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 David Nold, since the judgment has been assigned to Osborn Machler.

          3.      Civil contempt actions are not stayed by Title l1 U.S.C. g 362(a).

          4.      For cause pursuant to 11 U.S.C. $ 362(dxl), because of lack of adequate

 protection of Osborn Machler's interest in the attorneys' fees judgment, which is the property of

 Osborn Machler, but the stay in the Court of Appeals prevents Osborn Machler from collecting

 the judgment.

          5.      I   I U.S.C. $ 105 requires that no provision of the bankruptcy code may be

 construed to prevent the Court from preventing abuse of process.

                       V. MEMORANDUM OF POINTS AND AUTHORITIES
 A.       Actions Related To The Contempt Order Against Nold Are Not Actions .úAgainst
          The Deblor"

          Title 11 U.S.C. $ 362(a) imposes a stay on "actions against the debtor." In this matter,

 Global Baristas US, LLC, is the debtor in an involuntary bankruptcy. Osborn Machler, an

 interested party, seeks an order lifting the stay in the appeal, Court of Appeals Cause Number

 78664-4-I, of the contempt order and ordcr granting attorncys' fccs against attorney David Nold.

 Neither he nor his clients are parties in this bankruptcy action, because Nold's clients were paid

 in full as of December,2017. The Superior Court made         a   finding that all judgments owing to

 Nold's clients were paid by December,2017. Because the appeal of the contempt order and

 associated order awarding attorneys' fees and cost are not actions against the debtor, the Court

 should grant the order lifting the stay for that appeal.

          Further, courts have long held that the automatic stay does not protect non-debtors. In re

 Kash &   Køty   Wholesale,    Inc.,28 B.R. 66 (Banr. D.S.C. 1952); Pitts v. (Jnarco Indus., Inc., 698

 F.2d 313 (7th Cir. 1983); Inre Johns-Manville Corp.,99Wn.2d,lg3,660p.2d,27l (1983).

 David Nold is a non-debtor, and the stay should not protect him from proceeding with the appeal



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 of the contempt order against him. The Court should lift the banLruptcy stay with respect to the

 above-referenced appeal.

 B.      The Debtor Has No Equity In The Judgment Against David Nold

         Title l1 U.S.C.    $ 362(dX2)(A) provides that the Court shall grant   relief from the stay

 against property when the debtor does not have an equity in such property. In this case, the

 property is the attorneys' fees judgment against David Nold entered by the King County Superior

 Court as a result of the contempt order against him. Prior to this bankruptcy petition, Global

 Baristas assigned the judgment to Osborn Machler. Osborn Machler now has the only equity

 interest in the judgment against David Nold.

 C.      Civil Contempt Actions Are Not Stayed

         The government regulatory exemption of $ 362(bX4) provides that the filing of a petition

 for bankruptcy does not stay "the commencement or continuation of an action or proceeding by a

 governmental unit . . . to enforce such governmental unit's . . . police and regulatory power." 11

 U.S.C. $ 362(bX4) (Supp. 2000). This exemption "prevents the bankruptcy court from becoming

 ahavenforwrongdoers." Bergv. GoodSamaritanHosp. (Inre Berg),230F.3d 1165, 1167-68

 (9th Cir. 2000), citing O'Brien v. Fischel, 74 B.R. 546, 550 (D. Haw. 1987).

         Contempt proceedings against a non-debtor, and even contempt proceedings against a

 debtor, are not barred by the automatic stay when the government regulatory exemption

 applies. In re Dingley, 852 F.3d 1143, ll47-48 (9th Cir. 2017) ("Civil contempt proceedings are

 exempted from the automatic stay under the government regulatory exemption when the

 proceedings are intended to effectuate the court's public policy interest in deterring litigation

 misconduct.") See also Berg v. Good Samaritan Hosp. (In re Berg),230 F.3d I 165, I 166 (9th

 Cir. 2000) (holding that federal appellate court's "award of sanctions falls under the 'government




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 regulatory power' exemption of $ 364(b) (4)"); Seiko Epson Corp. v. Nu-Kote Int'\, Inc., 190 F.3d

 1360, 1364 (Fed. Cir. 1999)("Thus the statutory stay of proceedings as to Nu-Kote did not

 free Nu-Kote of the contempt orders and the injunctions upon which the contempt was based, all

 of which were entered before Nu-Kote suggested bankruptcy."); Supporters to Oppose

 Pollution, Inc. v. Heritage Grp.,973 F .2d 1320, 1328 (7th Cir. 1992) ("Contempt proceedings

 against non-bankrupt persons obliged to perform the acts spelled out in the injunction are not

 forbidden by the automatic stay.")

          Thus, under well settled law, Nold, a nondebtor, who has been held in contempt by a

 Superior Court judge in King County, and who was ordered to pay sanctions in the form of

 Osbom Machler's attorney's fees for his actions of contempt, should not find a haven for his

 wrongdoing in the bankruptcy court. The court should grant this motion for relief from stay.

         As the Berg court poignantly noted: "A litigant should not be allowed to delay the

 imposition of sanctions indefinitely by the expedient of declaring bankrupt cy ." In re Berg, 230

 F.3d at 1167-68 (9th Cir. 2000). In the present case, an attorney should not be allowed to delay

 payment of the contempt sanctions entered against him by persuading his friends to file an

 involuntary bankruptcy petition. Allowing him to do so would not only increase the number of

 bankruptcy filings but also create incentives for unprofessional conduct in litigation. 1d

         It is easy to   see   through this charade: the same parties in a coordinated effort, for Nold's

 sole benefit, attempt to delay the disposition of sanctions ordered against a non-litigant and non-

 bankrupt third party. Yet, the sentiments expressed by the Berg court still ring true. The

 automatic stay cannot be used by Nold to avoid the district court's contempt order and sanction

 in the form of the award of attomey's fees. To rule otherwise would be to eviscerate the

 governmental regulatory exemption found in 1l U.S.C. $ 362(bX4) and create incentives for




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 unprofessional conduct in litigation by firms or individuals.

 D.       The Court Should Prevent An Abuse Of Process

          It is clear from the facts that Nold has engaged in an abuse of process of, not just this

 Court, but the Superior Court and the Washington Court of Appeals. Nold was sanctioned in

 2016 for his abusive discovery tactics against Global Baristas. His conduct in the supplemental

 proceedings against Global Baristas was such that the Superior Court judge entered a protective

 order against him. By December,2017, his client, Bellevue Square, had received full payment

 for everything owed to them from Global Baristas. Yet, in March, 2018, Nold could not stop

 himself from violating the Superior Court's protective order by turning over protected

 information to the Seattle Times.

         'When faced with the deadline of paying the court-awarded attorneys' fees for his

 conduct, Nold hled an interpleader action, using his cohort, Elizabeth Eno, as an excuse. When

 faced with Osborn Machler obtaining         a    judgment against him, he filed the appeal. When

 required by the Court of Appeals to answer Osborn Machler's motion to substitute itself for

 Global Baristas, he rounded up cohorts, Elizabeth Eno and Benenson Bellevue II, LC, to file this

 involuntary petition and filed an automatic stay of the appeal of the contempt order against him.

 He has now made this Court his latest playground, and will no doubt allege that the assignment

 of the judgment to Osborn Machler was a preference under $547. This will deprive Osborn

 Machler of it standing in the Court of Appeals on the appeal of David Nold's contempt. The

 Court should prevent this abuse of process, as provided in Title 11 U.S.C. $ 105.

 E.      There Is Lack Of Adequate Protection For Osborn Machler's Interest

         Title 11 U.S.C. $ 362(dxl) requires that the Court grant relief from the stay for     cause,

 including lack of adequate protection of an interest in property of such party in interest. $ 361




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  allows the Court to grant such other relief as will result in the realization of the requesting entity

  of the indubitable equivalent of the such entity's interest in the property. In re Timbers     of
 Inwood Forest Associates, Tg3 F.2D 1380, 1387-88 (5th Cir. 19S6). The Court should grant

 relief from the stay so that Osborn Machler can realize its interest in the judgment against David

 Nold.

          In the present case, Osbom Machler earned attorneys' fees for bringing the successful

 contempt motion, and Nold was ordered by the court to pay those fees. The Superior Court

 entered the judgment with Global Baristas         as   judgment creditor. Subsequently, Global Baristas

 assigned the judgment to Osborn Machler, because this was the agreement between Global

 Baristas and Osborn Machler that Osborn Machler would be paid with the court-awarded fees.

 This banlauptcy filing is Nold's latest attempt to avoid payment: first, he filed the interpleader;

 second, he filed the appeal; and now, he rounded up the usual suspects, Benenson and Elizabeth

 Eno, to file this involuntary bankruptcy. The Court should see this latest ruse for what       it is,   an

 abuse   ofthe bankruptcy process, and grant relieffrom the stay.

                                           III.     CONCLUSION

          The Court should grant the motion for relief from the stay. David A. Nold's latest

 attempt to avoid such a ruling, and paying sanctions under the terms of the contempt order

 entered against Nold by     filing inyet another qction in another court-is unsupported by the

 controlling legal authority. Contempt proceedings against a non-debtor such as Nold are exempt

 from the automatic stay under the 'government regulatory power' exemption            of l1 U.S.C $
 364(b)(4). Therefore, this court should grant Global's motion to lift the stay.




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          Dated     It    jù tx
                                                     Moving Party,




                                                     Susan Machler,   WSBA #23256
                                                     Osbom Machler
                                                     2025 First Avenue, Suite 1200
                                                     Seattle, WA 98121




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